Case 3:16-cv-03089-N        Document 364        Filed 05/15/24       Page 1 of 3     PageID 9673



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

 VICKI TIMPA, INDIVIDUALLY,                      §
 AND AS REPRESENTATIVE OF                        §
 THE ESTATE OF ANTHONY                           §
 TIMPA, AND CHERYLL TIMPA                        §
 INDIVIDUALLY AS NEXT FRIEND                     §
 OF K. T., A MINOR CHILD                         §
 Plaintiffs,                                     §
                                                 §
 AND                                             §
                                                 §
 JOE TIMPA,                                      §
 Intervenor-Plaintiff,                           §
                                                 §
 V.                                              §
                                                 §    CIVIL ACTION NO. 3:16-cv-03089-N
 DUSTIN DILLARD, DANNY                           §
 VASQUEZ, RAYMOND                                §
 DOMINGUEZ, KEVIN MANSELL,                       §
 GLENN JOHNSON, CRIMINAL                         §
 INVESTIGATIVE UNIT, LLC                         §
                                                 §
 Defendants.                                     §

                            ORDER GRANTING
         STIPULATION OF DISMISSAL AND APPROVAL OF SETTLEMENT

       Came on to be considered this day the Stipulation of Dismissal Following Settlement filed

in this cause by Plaintiffs Vicki Timpa, individually and as representative of the Estate of Anthony

Timpa, and Cheryll Timpa, individually and as next friend of K.T. After considering said

Stipulation and the agreement of the parties expressed therein, the Court:

       GRANTS the Joint Stipulation and hereby dismisses with prejudice all of these Plaintiffs’

claims against Defendants Dustin Dillard, Danny Vasquez, Kevin Mansell, and Raymond

Dominguez.
Case 3:16-cv-03089-N        Document 364         Filed 05/15/24      Page 2 of 3      PageID 9674



       The Court, having reviewed the recommendation of the Guardian Ad Litem, finds that the

settlement is in the best interest of minor Plaintiff, K.T., and approves the total settlement

agreement as stated in the guardian ad litem’s report.

       Furthermore, the Court understands that the Minor’s $1,000,000.00 in settlement proceeds

will be placed in a structured annuity with METLIFE ASSIGNMENT COMPANY, INC. for

his exclusive benefit. As a result, K.T. is to receive periodic payments from METLIFE

ASSIGNMENT COMPANY, INC. according to the Schedule of Payments as follows (the

“Periodic Payments”):

       $40,000.00 payable semi-annually, guaranteed for 4 years, beginning on 07/31/2026, with
       the last guaranteed payment on 01/31/2030.

       $3,189.09 payable monthly, guaranteed for 17 years, beginning on 07/31/2026,
       with the last guaranteed payment on 06/30/2043.

       $75,000.00 paid on 07/31/2033 guaranteed.

       $200,000.00 paid on 07/31/2038 guaranteed.

       $460,000.00 paid on 07/31/2043 guaranteed.

       The Court approves of the Periodic Payments and further finds that they are in his best

interest and further finds that all the payments set forth herein constitute damages on account of

personal physical injuries, arising from an occurrence within the meaning of Section 104(a)(2) of

the IRS Code of 1986, as amended.

       IT IS FURTHER ORDERED that the rights to receive periodic payments granted to the

minor Plaintiff in this Judgment may not be sold, transferred, hypothecated, pledged, or otherwise

alienated in any manner, directly or indirectly, without the prior approval of the then-sitting Judge

of this Court, as evidenced by an order approving such transaction entered after compliance with

all requirements of the Structured Settlement Protection Act, § 141.001, Texas Civil Practice and
Case 3:16-cv-03089-N        Document 364        Filed 05/15/24       Page 3 of 3     PageID 9675



Remedies Code, as it now exists or may hereafter be amended, or any successor to such statute.

Any purported or attempted sale, transfer, hypothecation, pledge, or other alienation of such

payment rights that has not been so approved will be a direct violation of this order.



       Signed May 15, 2024.




                                              David C. Godbey
                                              Chief United States District Judge
